
719 S.E.2d 44 (2011)
STATE of North Carolina
v.
Deante Octario HOWARD.
No. 431P11.
Supreme Court of North Carolina.
December 8, 2011.
Kathleen M. Joyce, Assistant Appellate Defender, for Howard, Deante Octario.
Caroline Fanner, Deputy Director, for State of N.C.
Garland N. Yates, District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 10th of October 2011 by Defendant in this matter for discretionary review of the decision Of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of December 2011."
